      Case 1:21-cv-02587-AS-SLC Document 62-3 Filed 03/22/22 Page 1 of 1



UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

                                                   X
JOHN P. “JACK” FLYNN                               :     Case: 1:21-cv-02587-GHW-SLC
LESLIE A. FLYNN,                                   :
                                                   :     Hon. Sarah L. Cave
                                                   :
                           Plaintiffs,             :
                                                   :
               vs.                                 :
                                                   :
CABLE NEWS NETWORK, INC.,                          :
                                                   :
                           Defendant.              :
                                                   X

                         ORDER FOR ADMISSION PRO HAC VICE

       The Motion of Defendant Cable News Network vis-à-vis Deanna K. Shullman, for

admission to practice Pro Hac Vice in the above-styled suit is granted.

       The Applicant has declared that she is a member in good standing of the Florida Bar; and

that her contact information is as follows:

         Applicant’s Name: Deanna K. Shullman
         Firm Name: Shullman Fugate PLLC
         Address: 2101 Vista Parkway, Ste. 4006
         City/State/Zip: West Palm Beach, Florida 33411
         Telephone/Fax: (561) 429-3619
         Email: dshullman@shullmanfugate.com

       Applicant having requested admission Pro Hac Vice to appear for all purposes for Cable

News Network, Inc., in the above-styled action;

       IT IS HEREBY ORDERED that Applicant is admitted to practice Pro Hac Vice in the

above-styled case in the United States District Court for the Southern District of New York. All

attorneys appearing before this Court are subject to the Local Rules of this Court, including the

Rules governing the discipline of attorneys.

Dated: __________

                                                    ____________________________

                                                    United States Magistrate Judge
